Case 4:98-cr-40093-JPG Document 161 Filed 05/12/21 Page 1 of 3 Page ID #211




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS


    UNITED STATES OF AMERICA,
    Plaintiff,

    v.                                                                Case No. 98–CR–40093–JPG

    JAMES F. WILLIAMS,
    Defendant.

                                                   ORDER

          Before the Court are Defendant James F. Williams’s Motion for Compassionate Release,

(ECF No. 159), and Motion for Recruitment of Counsel, (ECF No. 160).

          Williams has been serving a life sentence since 2000. (Judgment at 1–2, ECF No. 116). He

is incarcerated at the U.S. Penitentiary in Atlanta, Georgia (“USP Atlanta”). Inmate Locator,

Bureau of Prisons (last visited May 12, 2021). 1

          In April 2021, Williams moved for a sentence modification under 18 U.S.C.

§ 3582(c)(1)(A), also called compassionate release. (Def.’s Mot. at 1). He contends that serious

medical conditions (type II diabetes, hypertension, and asthma), coupled with his age (73), make

him especially vulnerable to the COVID-19 virus. (Id. at 2, Ex. A). In brief, Williams argues that

his increased risk of experiencing serious complications if he contracts COVID-19 (a second time)

is an extraordinary and compelling reason warranting his release. (Id. at 5).

          District courts generally “may not modify a term of imprisonment once it has been

imposed . . . .” 18 U.S.C. § 3582(c). That said, an exception exists for when “extraordinary and

compelling reasons warrant such a reduction . . . .” Id. § 3582(c)(1)(A)(i). The burden of proof




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    Available at https://www.bop.gov/inmateloc/.
Case 4:98-cr-40093-JPG Document 161 Filed 05/12/21 Page 2 of 3 Page ID #212




rests on the defendant, and the Court has “broad discretion.” See United States v. Saunders,

986 F.3d 1076, 1078 (7th Cir. 2021).

          With that in mind, the Court acknowledges the particular danger posed by COVID-19 to

prisoners, who live in close quarters and often cannot practice social distancing. “But the mere

existence of COVID-19 in society and the possibility that it may spread to a particular prison alone

cannot independently justify compassionate release . . . .” United States v. Raia, 954 F.3d 594, 597

(3d Cir. 2020). The Director of the Bureau of Prisons is in the best position to know which inmates

are most vulnerable to infection and whether they still pose a public-safety risk. And since

March 2020, the Bureau has released over 25,000 inmates that it has identified as “suitable for

home confinement,” Coronavirus, Bureau of Prisons (last visited May 12, 2021), 2 “a 250%

increase in home confinement placements since the beginning of the pandemic,” Statement of

Michael D. Carvajal, Director, Federal Bureau of Prisons Before the Committee on the Judiciary,

United States Senate (Apr. 15, 2021). 3 More importantly, as of April 19, 2021, all federal inmates

are eligible for a vaccine. Id. As a result, the Director expects that “by mid-May, . . . all inmates

will have been provided the opportunity to be vaccinated.” Id.

          For all that, there are not extraordinary and compelling reasons warranting a sentence

modification here. Williams may have already been vaccinated since moving for compassionate

release. If not, then he may receive the vaccine now. Even if he rejects it, the risk of infection will

still be greatly reduced thanks to the more than 80,000 inmates who have accepted invitations to

receive the vaccine (40,000 of which have already received both doses). Oversight of the Federal




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    Available at https://www.bop.gov/coronavirus/.
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    Available at https://www.judiciary.senate.gov/imo/media/doc/BOP%20Director%20-
    %20%20Written%20Statement%202021-04-15%20SJC%20Hearing%20.pdf.



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Case 4:98-cr-40093-JPG Document 161 Filed 05/12/21 Page 3 of 3 Page ID #213




Bureau of Prisons: Hearing Before the Judiciary Comm., 117 Cong. (2021) (statement of Michael

Carvajal, Dir. of BOP). 4 And according to the Bureau, no inmates at USP Atlanta currently have

the virus. Coronavirus, BOP (last visited May 12, 2021). 5 In sum, the risk posed to Williams by

the pandemic is not currently extraordinary and compelling. If the situation changes, then he may

move for compassionate release again after exhausting his administrative remedies. And while

advanced age is a valid ground for compassionate release, Williams does not state how the aging

process has resulted in a serious deterioration in his physical or mental health justifying a sentence

modification. That said, the Court will recommend that the Bureau of Prisons place Williams on a

priority list to receive the COVID-19 vaccine (assuming he has not already received it).

          Finally, the Court notes that criminal defendants do not have a right to counsel in sentence-

modification proceedings. See United States v. Tidwell, 178 F.3d 946, 949 (7th Cir. 1999). And as

discussed above, Williams’s Motion for Compassionate Release is facially frivolous; so appointing

counsel here is unwarranted.

          For those reasons, the Court DENIES Defendant James F. Williams’s Motion for

Compassionate Release and Motion for Recruitment of Counsel, and STRONGLY

RECOMMENDS that the Bureau of Prisons give Williams high priority for the COVID-19

vaccine.

          IT IS SO ORDERED.

Dated: Wednesday, May 12, 2021
                                                               S/J. Phil Gilbert
                                                               J. PHIL GILBERT
                                                               UNITED STATES DISTRICT JUDGE



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    Available at https://www.judiciary.senate.gov/meetings/04/08/2021/oversight-of-the-federal-bureau-of-prisons.

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    Available at https://www.bop.gov/coronavirus/.



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